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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION


    In Re:                                               Case Nos. 14-CV-5509, 15-CV-1681 &
                                                                   15-CV-6010
    Jimmy John’s Overtime Litigation
                                                         Honorable Charles P. Kocoras

                                                         Magistrate Heather K. McShain



                                   JOINT MOTION FOR
                             FINAL ORDER OF APPROVAL OF
                       COLLECTIVE ACTION SETTLEMENT AGREEMENT

             Plaintiffs Lara Bailey, Administrator of the Estate of Emily Brunner (substituted for

original plaintiff Emily Brunner), Caitlin Turowski, Alexander Whiton, and Scott Watson

(collectively, “Plaintiffs”), and Defendants Jimmy John’s LLC, Jimmy John’s Enterprises, LLC,

and Jimmy John’s Franchise, LLC (collectively “the Jimmy John’s Defendants,” and together

with Plaintiffs, the “Parties”), through their respective counsel, jointly move the Court for a final

order approving the Parties’ settlement.

             I.     FACTUAL BACKGROUND

             On March 9, 2021, the Court entered an Order finding that the Parties’ settlement

agreement resolving all claims that the Plaintiffs and Opt-In Plaintiffs who joined this lawsuit

brought against the Jimmy John’s Defendants, as alleged in the operative complaints in this

Litigation,1 was a fair and reasonable resolution of a bona fide dispute. ECF No. 757. The Court

further found that the settlement: (1) is the result of arm’s-length negotiations between

experienced attorneys familiar with FLSA collective action litigation who have adequately


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        Unless otherwise defined herein, capitalized terms have the same meaning as set forth in
the Parties’ settlement agreement. ECF No. 748-1.
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represented the Collective Action Members; (2) provides adequate relief to the Collective Action

Members considering the costs, risks, and delay associated with trial and appeal; and (3) treats

Settlement Collective Action Members equitably relative to each other. ECF No. 757, ¶¶ 2-4. In

the Joint Memorandum in Support of Preliminary Settlement Approval, in addition to addressing

those points, the Parties further detailed why the proposed service awards and attorneys’ fees and

cost awards were reasonable and justified in this case, and which the Court concluded also

justified settlement approval. ECF No. 757, ¶ 3. The Court’s approval order expressly found that

“preliminary approval of the Settlement Agreement is supported by the terms of the proposed

award of attorneys’ fees and costs, which is a significant discount of Collective Action Lead

Counsel’s lodestar.” Id.; see also ECF No. 748, pp. 20-22.

       As was also detailed in the Memorandum of Law in Support of the Joint Motion for

Approval of Collective Action Settlement Agreement (ECF No. 748, pp. 7-9), in FLSA

settlements, unlike Rule 23 class action settlements, there are no absent class members who will

be bound to a release of their claims and therefore the due process concerns that exist in the

approval of Rule 23 settlements are not present in the approval process of FLSA collective action

settlements. Genesis Healthcare Corp. v. Symczyk, 133 S. Ct. 1523, 1529 (2013) (collective

actions under the FLSA are fundamentally different than class actions raised under Fed. R. Civ.

P. 23); Castillo v. Noodles & Co., No. 16-CV-03036, 2016 WL 7451626, at *1 (N.D. Ill. Dec.

23, 2016). As a result, to approve an FLSA collective action settlement, a district court need only

engage in a one-step approval process. Briggs v. PNC Fin. Servs. Group, Inc., No. 15-CV-10447,

2016 WL 7018566, at *1 (N.D. Ill. Nov. 29, 2016) (St. Eve, J.) (citing Koszyk v. Country Fin.

a/k/a CC Servs., Inc., No. 16-CV-3571, 2016 WL 5109196, at *1 (N.D. Ill. Sept. 16, 2016) (“A

one-step settlement approval process is appropriate[ ]” in FLSA settlements)).


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       However, in this case, the Parties included settlement terms that allowed each Collective

Action Member the chance to object to the settlement and exclude themselves from the

settlement prior to the Litigation being dismissed. ECF No. 748-1, ¶¶ 64-68. The Parties also

included a term that after the Notice of Settlement was provided to each Collective Action

Member, the Parties would ask the Court to enter a final order of settlement approval. Because

the notice program to Collective Action Members was successful, as set out immediately below,

the Parties ask that the Court enter a final Order approving the Settlement and dismissing the

Litigation.

       II.     THE NOTICE PROGRAM WAS SUCCESSFUL

       The Parties’ notice program included a Notice of Settlement mailed to all Collective

Action Members notifying them, among other things, of the claims in the Litigation they

previously joined, the Gross Settlement Amount, the Net Settlement Amount available for

distribution to Settlement Collective Action Members, the amount requested for Collective

Action Lead Counsel’s fees and costs, and the Service Award request. The Settlement

Administrator sent Collective Action Members their Notices by first-class mail, and the Notice

explained the additional avenues available to Collective Action Members to obtain more

information about the Settlement. In addition, a website was to be established at which

Settlement Action Collective members who were Franchise Opt-ins could take advantage of

obtaining a cash payment, in lieu of the three $100 gift cards.

       As attested to in the attached Declaration (Exhibit 1 hereto) from Bruce Holman, Senior

Project Manager with A.B. Data, Ltd.’s Class Action Administration Company, the Settlement

Administrator agreed upon by the parties and approved by the Court, the Notice was properly

issued to the 640 Collective Action Members, the settlement website was established, and


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 Notices were successfully sent to 630 out of the 640 Collective Action Members, or over 98%.

 Exhibit 1 at ¶ 9. There were 28 requests for cash payments in lieu of gift cards. Id. at ¶ 12. There

 were no requests for exclusion and no objections to any part of the settlement by Collective

 Action Members. Id. at ¶¶ 10-11. In addition, Class Counsel represent that they received no

 requests for exclusion or objections to the Settlement, nor were any filed on ECF. As a result, the

 reaction of Collective Action Members to the Settlement supports an Order of final approval.

         III.    CONCLUSION

         This Court already approved the Parties’ Settlement as a fair and reasonable resolution of

 a bona fide dispute. ECF No. 757; Lynn’s Food Stores, Inc. v. United States, 679 F.2d 1350,

 1354 (11th Cir. 1982). Because the Notice program confirms that the Settlement is also

 supported by the Collective Action Members in all respects, the Parties request that the Court

 enter a final order approving the terms of the settlement, including Class Counsel’s attorneys’

 fees and litigation expenses and the Service Awards to the Named Plaintiffs, and dismissing the

 Litigation.

DATED: May 25, 2021                                   Respectfully submitted,


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JOHN’S FRANCHISE, LLC                                 By their attorneys,

By their attorneys,


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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 25th day of May, 2021, I electronically filed the foregoing

document with the Clerk of Court by using the CM/ECF system, which will send a notice of

electronic filing to all counsel of record, including the following:


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